Case 1:02-cv-00169-MP Document 2 Filed 12/23/02 Page 1 of 17 Shi

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A COMPLAINT UNDER THE CIVIL RIGHTS ACT
42 U.S.C. §1983

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UNITED STATES DISTRICT COURT not scanned
NORTHERN DISTRICT OF FLORIDA

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Instructions for Filing Complaint by Prisoners Under the Civil Rights
Act, 42 U.S.C, §1983

This packet includes four copies of a complaint form and two copies ofa pauperis
petition. To start an action you must file an original and one copy of your complaint for each
defendant you name and one copy for the court. For example, if you name two defendants, you
must file the original and three copies of the complaint. You should also keep an additional copy

of the complaint for your own records All copies of the complaint must be identical to the
original.

The clerk will not file your complaint unless it conforms to these instnictions and to these forms .

IMPORTANT: FAILURE TO NOTIFY THE COURT OF ANY CHANGE OF ADDRESS
COULD RESULT IN THE DISMISSAL OF YOUR CASE.

Your complaint must be legibly handwritten or typewritten. The plaintiff or plaintiff's must
sign and swear to the complaint. If you need additional space to answer a question, you may use
the reverse side of the forms or additional blank page.

Your complaint can be brought in this court only if one or more of the named defendants
is located within this district. Further it is necessary for you to file a separate complaint for each
claim that you have unless they are all related to the same incident at issue.

Inu order for this complaint to be filed, it must be accompanied by the filing fee of $150.00,
In addition, the United States Marshall will require you to pay the cost of serving the complaint
on each of the defendants.

If you are unable to pay the filing fee and service costs for this action, you may petition
the court to proceed in forma pauperis. Two blank petitions for this purpose are included in this
packet One copy should be filed with your complaint; the other copy is for your records. After

filing in the petition; you must have it notarized by a notary public or other officer authorized to
admunister an oath

You will note that you are required to give the facts. THIS COMPLAINT SHOULD
NOT CONTAIN LEGAL ARGUMENTS OR CITATIONS.

When these forms are completed, mail the original and the copies to the Clerk of the
United States District Court, Northern District of Florida, Suite 122, 110 East Park
Avenue Tallahassee, Florida 3230.1
Case 1:02-cv-00169-MP Document 2 Filed 12/23/02 Page 3 of 17 an

4): (iB

Previous Lawsuits

A. Have you begun other lawsuits in state or federal court dealing with the same
facts involved in this action or otherwise relating to your imprisonment?
Yes (yO No ( )
B. If you answer to A is yes, describe each lawsuit in the space below. (If there is

more than one lawsuit, describe the additional lawsuits on another piece of
paper, using the same outline.)

1. Parties to previous lawsuit

Plaintiffs: SAMS Anthur Lee

 

Defendants: Mihre| Ui Mook Etc, fl

 

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Court (if federal court, name the district; if state court. name the county):

 

 

 

 

3. Docket number:

4, Name of judge to whom case was assigned:

5. Disposition (for example. was the case dismissed? Was it appealed? Is it still
pending?) :

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6. Apgroxinate dt of filing lawsuit: h, CAML vl fe Coury Aw J

7. Approximate date of disposition: C alum h it Cw) An Libaany
Place of present confinement: O 4PM LSuArs t

 

 
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A. Is there a prisoner grievance procedure in this institution? Yes (4 No ( )

B. Did you present the facts relating to your complaint in the state prisoner
grievance procedure? Yes (4 No( )

C. Ifyou answer is YES:
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2. What was the result?

 

 

 

D. If your answer is NO, explain why not:

 

 

WH. Parties

(In Item A below, place your name in the first blank and place your present address
iu the second blank. Do the same additional plaintiffs, if any.)

A. Name of plaintiff JAMNSS An Phun 4GE .
Address Colum h Ac sy Rohe ) 4A vA37e, LAké cuhy fla ‘32Lo oS -
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In Item B below, place the full name of the defendant in the first blank, his official
position in the second blank, and his place of employment in the third blank. Use Item C
for the names, positions, and places of employment of any additional defendants.

B. Defendant a ch AE l WwW, MooRe
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C. Additional Defendants: ba. BL tm Hupowikz mb, De Amilg Bau tow d Avene md
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Ty. Statement of Claims

 

 

State here as briefly as possible the facts of your case. Describe how each defendant is
involved, Include also the names of other persons involved, dates and places Do not
give any legal arguments or cite any case or statutes Ifyou intend to allege a number of
related claims, number and set forth each claim in a separate paragraph. (Use as much
space as needed. Attach extra sheet if necessary.)

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Vv. Relief

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Cite no cases or statutes.

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V. Relief Cou huaccl Por Th

State briefly exactly what you want the court to do for you. Make no legal arguments.
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VERIFICATION
State of Fl VA id )
County of Lyles ij by )

, being first
duly swom, under oath, says: that he is the plaintiff in this action and knows the content of the
above complaint; that it is true of his knowledge; except as to those matters that are stated in it on
his information and belief, and as to those matters he believes are true.

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Subscribed and sworn to before me

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